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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO


MERCEDES CERNA,

                Plaintiff,


v.                                                                      No. CIV 13-1077 JAP/GBW

LONESTAR DISTRIBUTION CORP.,

                Defendant.


                             MEMORANDUM OPINION AND ORDER

        On September 15, 2014, Defendant Lonestar Distribution Corp. (Lonestar) filed a

MOTION TO DISMISS FOR PLAINTIFF’S ABUSE OF THE DISCOVERY PROCESS

(Motion to Dismiss) (Doc. No. 49). Lonestar attempted to obtain Plaintiff’s position regarding its

Motion to Dismiss but Plaintiff, who is now pro se, failed to return Lonestar’s calls and

messages. Id. at 1. Plaintiff did not respond to the Motion to Dismiss, and the deadline for doing

so has expired. This District’s local rules provide that the “failure of a party to file and serve a

response in opposition to a motion within the time prescribed for doing so constitutes consent to

grant the motion.” D.N.M.LR-Civ. 7.1(b). See also Lonestar’s NOTICE OF COMPLETION OF

BRIEFING (Doc. No. 50) (stating Plaintiff had failed to respond and did not seek an extension of

time to respond).

        In addition to Plaintiff’s failure to file opposition to the Motion to Dismiss, Lonestar

contends that Plaintiff’s employment discrimination lawsuit should be dismissed as a sanction

for Plaintiff’s “failing to appear for her deposition and . . . lying about the reason for her failure

to appear.” Motion to Dismiss at 1. Lonestar seeks an award of fees and costs caused by

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Plaintiff’s failure to appear. Id. at 8. Based on Plaintiff’s discovery violations and her apparent

abandonment of the lawsuit, the Court will grant Lonestar’s Motion to Dismiss.

                                            Background

        In October 2011, Lonestar hired Plaintiff as an office assistant. In February 2013,

Plaintiff left her employment based on allegations against Lonestar of sexual and racial

discrimination, retaliation, and a hostile work environment. COMPLAINT FOR DAMAGES

(Complaint) (Doc. No. 1). Plaintiff was represented by counsel when she filed this lawsuit, and

continued to have counsel until late August 2014, when the Court allowed Plaintiff’s counsel to

withdraw. ORDER GRANTING PLAINTIFF’S COUNSEL’S MOTION TO WITHDRAW

(Aug. 22, 2014 Order) (Doc. No. 48).

        On July 18, 2014, Plaintiff’s attorney requested permission to withdraw as counsel

because of “lack of communication and cooperation with the Plaintiff.” MOTION TO

WITHDRAW AS LEGAL COUNSEL [for Plaintiff] (Motion to Withdraw at ¶1) (Doc. No. 44).

The Motion to Withdraw further stated that Plaintiff had failed to appear at her scheduled

deposition on June 25, 2014 without notice to defense counsel or her own attorney. Id. at ¶ 3.

According to the Motion to Withdraw, Plaintiff later told her attorney that her daughter was

involved in an automobile accident on the morning of her scheduled deposition. However, when

asked to produce a police report and hospital medical records concerning her daughter’s

accident, Plaintiff failed to provide any documentation to confirm the alleged accident. Id. at ¶¶

4–7.

        In response to defense counsel’s demand for records corroborating Plaintiff’s daughter’s

accident, Plaintiff’s counsel told defense counsel that the lawsuit would be dismissed if Plaintiff

did not produce the requested reports that might tend to excuse Plaintiff’s non-appearance at the



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deposition. Id. at ¶¶ 8, 9. Lonestar re-scheduled Plaintiff’s deposition for July 17, 2014, provided

that Plaintiff produce records pertaining to the accident. Even though Plaintiff did not supply

police or medical records concerning her daughter’s alleged motor vehicle accident, Plaintiff

informed her attorney that she did not want her case dismissed. Id. at ¶ 11. Thus, Plaintiff’s

attorney asserted that a conflict existed sufficient to justify his withdrawal as Plaintiff’s counsel.

Id.

       Before ruling on the request to withdraw, Magistrate Judge Gregory B. Wormuth issued

an Order directing Plaintiff’s counsel to comply with the requirements of Local Rule 83.8(a),

including “notice of appointment of substitute counsel; or a statement of the client’s intention to

appear pro se and the client’s address and telephone number.” ORDER REGARDING

PLAINTIFFS’ COUNSEL’S MOTION TO WITHDRAW (Aug. 1, 2014 Order) (Doc. No. 47).

Because it was unclear if the Motion to Withdraw was opposed, Judge Wormuth allowed

Plaintiff and opposing counsel fourteen (14) days to file objections. No objections were filed,

and the Magistrate Judge entered an Order granting the Motion to Withdraw. Aug. 22, 2014

Order. Judge Wormuth further advised that Plaintiff had seven days from the entry of the Aug.

22, 2014 Order to have new counsel file an entry of appearance. If there was no entry of

appearance, Plaintiff would proceed pro se. Aug. 1, 2014 Order at 2; Aug. 22, 2014 Order at 1.

The Court’s Aug. 22, 2014 Order was mailed to Plaintiff’s address on file in Hobbs, New

Mexico. Id. at 2. To date, no attorney has filed an entry of appearance on behalf of Plaintiff.

Thus, Plaintiff proceeds pro se.

       Lonestar’s Motion to Dismiss asserts: (1) defense counsel consulted with Plaintiff’s

attorney to ensure Plaintiff’s availability for the June 25, 2014 deposition in Hobbs, New

Mexico; (2) defense counsel prepared for and traveled to Hobbs in anticipation of Plaintiff’s



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deposition; and (3) Plaintiff failed to appear for deposition on June 25, 2014, without notifying

defense counsel. Only later did Plaintiff inform her attorney that her daughter was involved in an

automobile accident the morning of her deposition and that her daughter was at Lea Regional

Hospital. Motion to Dismiss at 2.

       Defense counsel independently investigated Plaintiff’s daughter’s alleged accident by

writing to and contacting the Hobbs Police Department about records from the June 25, 2014

accident. The Hobbs Police Department found no responsive documents or records. Id. at 2–3;

Decl. of Marie Muniz at ¶¶ 2, 3, 4; Exhibits 3, 4. Defense counsel’s paralegal was also informed

that “Dispatch” had been checked but that no record was found of an accident involving

Plaintiff’s daughter on June 25, 2014.

       Although there is a trial setting of January 5, 2015, no activity has occurred in this case

since the filing of Lonestar’s September 15, 2014 Motion to Dismiss. Moreover, there is no

indication in the electronic docket that Plaintiff, acting pro se since August 22, 2014, has

engaged in any discovery or taken other steps to move this case forward. The settlement

conference set for August 22, 2014, was vacated. September 15, 2014 was the close of discovery.

                                          Legal Standard

       Rule 41(b) provides that if a plaintiff “fails to prosecute or to comply with these rules or a

court order, a defendant may move to dismiss the action or any claim against it.” Fed. R. Civ. P.

41(b). A dismissal under Rule 41(b), except for lack of jurisdiction, improper venue, or failure to

join a party, “operates as an adjudication on the merits,” and thus, a dismissal with prejudice. Id.;

Nasious v. Two Unknown B.I.C.E. Agents, 492 F.3d 1158, 1161–62 (10th Cir. 2007). The Tenth

Circuit Court of Appeals has consistently interpreted Rule 41(b) “to permit courts to dismiss




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actions sua sponte for a plaintiff's failure to prosecute.” Olsen v. Mapes, 333 F.3d 1199, 1204 n.

3 (10th Cir. 2003).

       In addition, Rule 37(b)(2) states that a party who fails to obey an order to provide or

permit discovery may be sanctioned, including dismissal of the action in whole or in part. Fed. R.

Civ. P. 37(b)(2)(v). See also Fed. R. Civ. P. 37(d)(1)(A)(i) (allowing sanctions if a party fails,

after being served with proper notice, to appear for a deposition).

       Before dismissing a lawsuit for discovery violations or for failure to prosecute, the

district court ordinarily considers what are known as the Ehrenhaus factors or criteria. See

Ehrenhaus v. Reynolds, 965 F.2d 916, 921 (10th Cir. 1992); Nasious, 492 F.3d at 1162, 1163.

The non-exhaustive Ehrenhaus factors include: “(1) the degree of actual prejudice to the

defendant; (2) the amount of interference with the judicial process; (3) the culpability of the

litigant; (4) whether the court warned the party in advance that dismissal would be a likely

sanction for noncompliance; and (5) the efficacy of lesser sanctions.” Ehrenhaus, 965 F.2d at

921 (citations and internal quotation marks omitted).

       In Ehrenhaus the Tenth Circuit Court of Appeals expressly stated that these five factors

“do not represent a rigid test” that a district court must always apply. Id. “The Ehrenhaus factors

are simply a non-exclusive list of sometimes-helpful ‘criteria’ or guide posts the district court

may wish to ‘consider’ in the exercise of what must always remain a discretionary function.” Lee

v. Max Intern., LLC, 638 F.3d 1318, 1323 (10th Cir. 2011). However, because of the harshness

of a dismissal, due process requires that the “violations be predicated upon willfulness, bad faith,

or [some] fault of petitioner rather than inability to comply.” Archibeque v. Atchison, Topeka &

Santa Fe Ry. Co., 70 F.3d 1172, 1174 (10th Cir. 1995) (citations omitted).




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       The Court liberally construes a pro se plaintiff’s filings and arguments. See, e.g., Adams

ex rel. D.J.W. v. Astrue, 659 F.3d 1297, 1302 n. 1 (10th Cir. 2011). However, Plaintiff has not

submitted any arguments or filings while acting in a pro se capacity. Thus, the Court has little to

go on except for Lonestar’s Motion to Dismiss and Plaintiff’s counsel’s representations in the

Motion to Withdraw.

                                            Discussion

A.     Dismissal for Discovery Violations and Failure to Prosecute

       The Court will address the Ehrenhaus factors in deciding whether to dismiss Plaintiff’s

lawsuit based on discovery violations and Plaintiff’s failure to prosecute.

       1.      Actual Prejudice to Lonestar

       Lonestar scheduled Plaintiff’s deposition on June 25, 2014, after conferring with

Plaintiff’s attorney about Plaintiff’s availability on that date. Defense counsel prepared for and

traveled to Hobbs, New Mexico for the deposition, but Plaintiff failed to appear and did not

notify her attorney or defense counsel that she would not be in attendance. Thus, Lonestar was

prejudiced by Plaintiff’s non-attendance, both in terms of attorney’s fees and travel expenses

related to the deposition and because Lonestar was unable to take Plaintiff’s deposition before

the September 15, 2014 discovery deadline passed.

       Lonestar also suffered prejudice by having to expend time and resources to check into

Plaintiff’s excuse for her nonappearance. Because Plaintiff failed to come forward with any

police reports or hospital records to corroborate her daughter’s accident, Lonestar was forced to

independently investigate an accident that apparently did not happen. This resulted in Lonestar

having to contact the Hobbs Police Department several times, to correspond with Plaintiff’s




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counsel regarding how to obtain the requested information, and to file the present Motion to

Dismiss.

        Similarly, Lonestar was prejudiced by Plaintiff’s unsubstantiated explanation for her

failure to appear at the scheduled deposition. See Garcia v. Berkshire Life Ins. Co. of Am., 569

F.3d 1174, 1179-1180 (10th Cir. 2009) (“The submission of falsified evidence1 substantially

prejudices an opposing party by casting doubt on the veracity of all of the culpable party's

submissions throughout litigation.”). False representations force a party to expend additional

expense and effort to “ferret out [the] plaintiff’s lies and to double check every piece of

information.” Id. at 1179.

        The Court finds substantial prejudice to Lonestar.

        2.      Interference with Judicial Process

        Plaintiff’s failure to appear for her deposition as scheduled and failure to corroborate any

excuse for her nonappearance have delayed this proceeding. The discovery deadline has passed

without Plaintiff having been deposed, notwithstanding Lonestar’s attempts to depose Plaintiff.

The settlement conference was vacated due to Plaintiff’s nonappearance at her deposition. See

July 21, 2014 Status Conference Minutes (Doc. No. 46). Plaintiff’s inaction has stalled this

litigation.

        In addition, Plaintiff’s apparent false representations as to why she did not appear for the

June 25, 2014 deposition tend to undermine the truth seeking function of the judicial process. See

Rodriguez v. Presbyterian Healthcare Servs., No. CIV 11-238 at 25 (D.N.M. Apr. 30, 2012)

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  Plaintiff did not submit evidence in the form of sworn affidavit testimony regarding her nonappearance.
But, according to her attorney, who is an officer of the Court, Plaintiff provided an explanation for her
nonappearance that was never corroborated. Thus, Lonestar had no choice but to independently
investigate Plaintiff’s explanation for her nonappearance. Moreover, Plaintiff’s failure to explain her
nonappearance at the deposition essentially brought this lawsuit to a halt, e.g., Plaintiff’s attorney moved
to withdraw, discovery was not completed by the deadline, and the Magistrate Judge vacated the
settlement conference.

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(Doc. No. 65), adopted by No. CIV 11-238 at 7 (D.N.M. Aug. 22, 2012) (Doc. No. 71) (noting

that there is no greater interference with the judicial process than false testimony and the willful

failure to disclose information), aff’d 515 F. App’x 761 (10th Cir. May 22, 2013) (unpublished).

       The Court finds that Plaintiff’s failure to appear for her deposition, without notice or

legitimate excuse, has significantly interfered with and delayed the judicial process.

       3.      Culpability of the Litigant

       There is no question that Plaintiff, not her previous attorney, has stalled this proceeding.

Plaintiff was given proper notice of her deposition and yet neglected to appear and failed to

notify counsel of her nonappearance. She has provided no legitimate excuse for her failure to

appear even after being given an opportunity to come forward with police reports and medical

records to corroborate her daughter’s accident on the day of Plaintiff’s deposition.

       The Court finds that Plaintiff is highly culpable.

       4.      Advance Warning of Dismissal

       There was no opportunity for the Court to provide advance warning to Plaintiff that the

above-described discovery violations and her failure to prosecute could result in a dismissal of

the proceeding with prejudice. It appears from Plaintiff’s attorney’s Motion to Withdraw that

counsel warned his client of the possible dismissal of this proceeding if Plaintiff did not produce

requested police reports and medical records to corroborate her daughter’s accident. See Motion

to Withdraw at ¶¶ 9-11.

       Moreover, Lonestar’s Motion to Dismiss for discovery violations was mailed to

Plaintiff’s address on file. Plaintiff filed no opposition to the Motion to Dismiss, nor did she

request an extension to respond to the Motion to Dismiss.




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        Although the Court did not explicitly forewarn Plaintiff that her lawsuit could be

dismissed with prejudice for discovery violations and failure to prosecute, the Tenth Circuit

Court of Appeals has held that advance warning is not always a prerequisite to the imposition of

dismissal sanctions. See, e.g., Archibeque, 70 F.3d at 1175 (upholding dismissal even though no

warning given).

        5.       Efficacy of Lesser Sanctions

        There are no lesser sanctions that would effectively correct Plaintiff’s discovery

violations or her failure to participate in this proceeding. She failed to appear at her deposition,

did not produce records that were requested, did not complete discovery by the deadline for

doing so, and did not respond to the Motion to Dismiss. Under these circumstances, dismissal of

the lawsuit with prejudice is the only sanction that will satisfy the interests of justice. See

Ehrenhaus, 965 F.2d at 916 (“It is within a court's discretion to dismiss a case if, after

considering all the relevant factors, it concludes that dismissal alone would satisfy the interests

of justice.”).

        In sum, at least four of the five Ehrenhaus factors support dismissal with prejudice of this

proceeding. At this point, the Court has no confidence that Plaintiff intends to pursue her lawsuit.

B.      Lonestar’s Request for Fees and Costs

        Lonestar asks that, in addition to dismissal of this lawsuit, the Court award fees and costs

against Plaintiff in the approximate sum of $4,000. Notwithstanding Plaintiff’s discovery

infractions and failure to prosecute, the Court declines to award fees and costs.

        IT IS ORDERED that (1) Defendant Lonestar Distribution Corp.’s MOTION TO

DISMISS FOR PLAINTIFF’S ABUSE OF THE DISCOVERY PROCESS (Doc. No. 49) is




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GRANTED, with the result that Plaintiff’s COMPLAINT will be DISMISSED WITH

PREJUDICE, and (2) Lonestar’s request for fees and costs is denied.



                                           _________________________________________
                                           SENIOR UNITED STATES DISTRICT JUDGE




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